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  1                 UNITED STATES DISTRICT COURT
  2               EASTERN DISTRICT OF WASHINGTON
  3
  4 UNITED STATES OF                    No. 2:13−CR−06070−WFN−1
  5 AMERICA,
  6              Plaintiff,             ORDER REGARDING
  7                                     DISCOVERY AND
  8 vs.                                 PRETRIAL MOTIONS
  9
    KENNETH RICHARD
 10 ROWELL,
 11
 12              Defendant.
 13
 14                         OPEN FILE DISCOVERY
 15      In voluntary discovery cases, the United States, within seven (7)
 16 business days of the date of arraignment, shall deliver to the
 17 Defendant all investigative material in its file, required by the Federal
 18 Rules of Criminal Procedure, specifically including, but not limited
 19 to, police and incident reports and Defendant's criminal record. The
 20 United States shall continue to furnish discovery as received and
 21 complete the process within fourteen (14) days of the date of this
 22 Order, or within fourteen (14) days from receipt by Plaintiff of the
 23 discovered material, if later received. These directives assume a
 24 defense request for discovery pursuant to Fed. R. Crim. P. 16, and
 25 impose a reciprocal duty to provide discovery. If a Defendant does not
 26 wish to invoke the rule, the Defendant shall file a notice, prior to
 27 accepting discovery from the government.
 28


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  1                   NOTICE OF NON−DISCOVERY
  2      If the United States, for any reason, is not going to voluntarily
  3 provide all investigative material, it will serve and file a notice to that
  4 effect within seven (7) days of this Order. If discovery received after
  5 the date of this Order is not going to be voluntarily furnished, a notice
  6 to that effect shall be filed and served within seven (7) days of the
  7 United States' receipt of such material. Absent the filing of such
  8 notice, all discovery shall be promptly furnished consistent with the
  9 provisions of this Order.
 10                     NO MOTIONS TO BE FILED
 11      An initial early pretrial conference will be set by the presiding
 12 Judge to deal with discovery and other issues. DO NOT FILE ANY
 13 MOTIONS PRIOR TO THAT PRETRIAL CONFERENCE OR
 14 HIRE ANY EXPERTS. This does not prohibit counsel from filing
 15 motions before the Magistrate Judge (e.g., motions to withdraw,
 16 motions to modify conditions of release, etc.).
 17               NOTICE OF CONFLICT OF INTEREST
 18      The representation by one lawyer, or by different members of one
 19 law firm, of two or more Defendants charged under the same
 20 instrument or charged with factually related offenses will be permitted
 21 only on a showing that no conflict does, or will likely exist, or on a
 22 knowing waiver, executed in open court before a federal district
 23 judge.
 24      Counsel who plan to represent two or more Defendants charged
 25 under the same instrument, or charged with factually related offenses,
 26 shall immediately file a motion to secure prior approval of such
 27 representation by the federal district judge to whom this case is
 28 assigned.


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  1     In addition, counsel shall promptly investigate whether other
  2 conflicts exist that may prevent representation, and bring any potential
  3 conflicts to the attention of the court as soon as possible.
  4     IT IS SO ORDERED.
  5     DATED December 11, 2013.
  6
                             S/ JOHN T. RODGERS
  7                  UNITED STATES DISTRICT JUDGE
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